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                        IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF PUERTO RICO

      IN RE:                                                 CASE NO. 17-03861
      DIANA FALCÓN DÍAZ

                                                             CHAPTER 11
      DEBTOR

                        MOTION TO EXTEND THE AUTOMATIC STAY

        TO THE HONORABLE COURT:

        COMES NOW debtor through the undersigned attorney, and very respectfully move

 this Honorable Court, pursuant to 11 U.S.C. §362(c)(3)(B), for an order continuing the

 automatic stay provided under 11 U.S.C. §362(a) as to all creditors. In support of this motion,

 debtor states as follows:

 1.     Debtor filed a petition under Chapter 11 of the Bankruptcy Code on May 31st , 2017.

 A previous Chapter 13 case no. 15-06357 (MCF) was dismissed on November 30th, 2016.

 2.     The debtor is aware of the seriousness of this process and filed this new case in good

 faith. She believes that the Chapter 11 case will be feasible since she will be able to

 restructure the secured commercial loan using a cramdown option.

 3.     Debtor’s prior Chapter 13 case was the only previous case that was pending during

 the preceding year.

 4.     Pursuant to 11 U.S.C. §362(c)(3)(B) “… the Court may extend the stay in particular

 cases as to any or all creditors (subject to such conditions or limitations as the court may

 then impose) after notice and a hearing completed before the expiration of the 30-day period

 only if the party in interest demonstrates that the filing of the latter case is in good faith as

 to the creditors to be stayed...”
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 5.     The presumption that the case was filed not in good faith can be rebutted in the

 hearing this court may schedule with clear and convincing evidence regarding the issue

 discussed above.



        WHEREFORE, Debtor requests from this Court to continue the automatic stay under

 section 362(a) as to all creditors for the duration of this Chapter 11 proceeding, or until such

 time as the stay is terminated under section 362(c)(1) or (c)(2), or a motion for relief is

 granted under section 362(d).

        RESPECTFULLY SUBMITTED

        In Caguas, Puerto Rico, this 31st day of May 2017.

 NOTICE: Within fourteen (14) days after service as evidenced by the certification, and an
 additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any
 party in interest may file an objection to the relief hereby sought, and request a hearing. If
 no objection is filed within this period, the Court may grant this continuation of the stay
 provided under 11 U.S.C. §362(a).

 CERTIFICATE OF SERVICE: I CERTIFY that on this same date the foregoing document has
 been electronically filed WITH THE Clerk of the Court using the CM/ECF system which sends
 notification of such filing to all system’s participants, including the U.S. Trustee’s Office and
 the Trustee. I further certify that all non-participants were served through first class mail as
 per the attached mailing list.

                             /s/ CARLOS A. RUIZ RODRIGUEZ
                                      USDC-PR 210009
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                            IN RE: DIANA FALCÓN DÍAZ
                                CASE NO.: 17-03861

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